       Case 1:07-cr-00080-SM       Document 41     Filed 05/12/08   Page 1 of 2




                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                 Case No. 07-cr-80-02-SM

Jeffrey Mealey



                                      ORDER



      Defendant Mealey's assented-to motion to continue the trial (document no. 40)

is granted. Trial has been rescheduled for the August 2008 trial period. Defendant shall

file a Waiver of Speedy Trial Rights not later than May 16, 2008. On the filing of such

waivers, the continuance shall be effective.

      The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendants in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendants the reasonable time necessary for effective preparation taking into account
       Case 1:07-cr-00080-SM      Document 41     Filed 05/12/08   Page 2 of 2




the exercise of due diligence under the circumstances.

      Final Pretrial Conference: July 30, 2008 at 4:00 PM

      Jury Selection:            August 5, 2008 at 9:30 AM

      SO ORDERED.



May 12, 2008                           _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: Robert Kinsella, Esq.
    William Christie, Esq.
    U. S. Probation
    U. S. Marshal




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